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                                                     November 12, 2020

   VIA ELECTRONIC COURT FILING
   The Honorable Kevin McNulty, U.S.D.J.
   United States District Court for the District of New Jersey
   50 Walnut Street
   Newark, New Jersey 07101

            Re: MedWell, LLC v. CIGNA Corporation, et al.
                Docket No. 2:20-cv-10627-KM-ESK

   Dear Judge McNulty:

           We represent the plaintiff, MedWell, LLC (“Plaintiff” or “MedWell”) in the above-
   referenced matter. Pursuant to L. Civ. R. 7.1(d)(6), we are writing to request that the Court permit
   MedWell to file a sur-reply brief responding to the numerous substantive and procedural
   deficiencies of defendants’ collective sur-reply papers (“Defendants’ Sur-Reply” or the “Sur-
   Reply”), the most recent of which were filed Tuesday evening after the defendants requested, but
   did not receive, the Court’s leave to file the same. See ECF No. 26.

           Generally, permission to file a sur-reply brief should be granted when the record and the
   parties’ prior submissions are insufficient or when a sur-reply brief is otherwise warranted “[i]n
   the interests of justice.” See, e.g., Smith v. Merck & Co., No. 13-cv-2970, 2016 U.S. Dist. LEXIS
   56166, at *2 n.1 (D.N.J. April 27, 2016); Lasoff v. Amazon.com, Inc., No. 15-cv-2886, 2016 U.S.
   Dist. LEXIS 9878, at *1 n.2 (D.N.J. Jan. 28, 2016); National Util. Serv., Inc. v. Chesapeake Corp.,
   45 F. Supp. 2d 438, 445 (D.N.J. 1999); see also United States ex rel. Pogue v. Diabetes Treatment
   Ctrs. Of Am., Inc., 238 F. Supp. 2d 270, 277 (D.D.C. 2002) (“A surreply is most appropriate where
   the new matter introduced is factual.”) (internal citation omitted).

          Here, Plaintiff is in possession of information that will reveal that the parties’ current
   submissions are insufficient and warrant, in the interests of justice, the filing of a sur-reply because,
   among other reasons, Defendants’ Sur-Reply contains, among other things, declarations,
   including, without limitation, a third declaration from an individual named John DiManno,
   containing new factual allegations that appear to be fraudulent or are otherwise so profoundly
   misleading that they warrant permitting MedWell the opportunity to respond to the same in order
   to ensure that the Court decides the pending motion on a complete record. Specifically, our office
   has obtained information and documents through MedWell that will demonstrate that numerous
   material representations in Defendants’ Sur-Reply papers, including, without limitation, in Mr.
   DiManno’s third declaration, are false or misleading.

          Given that the defendants have now effectively filed two sur-replies, and for the reasons
   noted above, we respectfully request the opportunity to file a sur-reply limited to eight (8) pages,
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along with supporting exhibits, in the form of a brief that, like MedWell’s previously-filed briefs
and unlike those of the defendants, will satisfy the applicable requirements of L. Civ. R. 7.2. If
the Court grants leave, we will be able to prepare and file our papers no later than three (3) business
days from the date on which leave is granted.

       We thank the Court for its consideration of this request. Should the Court require any
additional information, we will endeavor to provide it.


                                               Respectfully submitted,

                                               SARMASTI PLLC
                                               Attorneys for Plaintiff


                                              By: __________________
                                                 Christopher Salloum

                                                Granted, but brief, not
                                                including exhibits,
                                                limited to 3 pages.
                                                SO ORDERED

                                                s/Kevin McNulty
                                                Hon. Kevin McNulty
                                                U.S. District Judge
                                                Date: 11/20/2020




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